             IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     BRYSON CITY DIVISION
           CRIMINAL CASE NO. 2:13-cr-00012-MR-DLH-5


UNITED STATES OF AMERICA        )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                   ORDER
                                )
TIMOTHY LEROY RATTLER.          )
                                )
                   Defendant.   )
_______________________________ )

     THIS MATTER is before the Court on the Defendant’s pro se appeal

of the Order of Detention [Doc. 69] entered on August 19, 2013. [Doc. 71].

     The Defendant is currently represented by counsel. [See Doc. 21].

The Court does not ordinarily entertain motions filed by a criminal

defendant who is represented by counsel and who has not formally waived

his right to counsel. See LCrR 47.1(H). Accordingly, the Defendant’s pro

se appeal of the Order of Detention is denied.

     IT IS, THEREFORE, ORDERED that the Defendant’s appeal of the

Order of Detention [Doc. 71] is DENIED WITHOUT PREJUDICE.

     IT IS SO ORDERED.              Signed: August 28, 2013




   Case 2:13-cr-00012-MR-WCM     Document 75         Filed 08/29/13   Page 1 of 1
